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       ANNUNZIATA CRUPI

       3711 Mentone ave, apt 19

       Los Angeles, CA 90034

       +1 (424) 230 6547

       nancycrupi1986@gmail.com

       Plaintiff in Pro Per



                                      UNITED STATES DISTRICT COURT

                                     CENTRAL DISTRICT OF CALIFORNIA

       Annunziata Crupi, an individual,                      Case No.: 2:23-cv-05077-GW-PD

       Plaintiff

                                                             DECLARATION OF ANNUNZIATA CRUPI
       v.                                                    IN SUPPORT OF PLAINTIFF’S MOTION

                                                             FOR SANCTIONS
       University of Southern California, a California

       Corporation and a private Academic Institution

       Valter Longo, an individual

       Sebastian Branhorst, an individual

       Wendy Snaer, an individual

       And DOES 1 through 100, inclusive,

       Defendants


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      DECLARATION
     Case 2:23-cv-05077-GW-PD Document 95-1 Filed 12/19/23 Page 2 of 2 Page ID #:1458



 1     I, ANNUNZIATA CRUPI, declare as follows:

 2        1. I am the Plaintiff in the case 2:23-cv-05077-GW-PD against USC, Valter Longo, Sebastian
 3           Brandhorst, Wendy Snaer and does 1 through 100 inclusive (Defendants).
 4        2.     I make this my request for sanctions (“PLAINTIFF’S MOTION FOR SANCTIONS”).
 5        3. All of the information set forth herein is based on my personal and firsthand knowledge and if
 6           called and sworn as a witness, I could and would competently testify thereto.
 7        4. A true and correct copy of the document referred hereto has been concomitantly filed to Court.
 8        5. I declare under penalty of perjury under the laws of the United States and the State of California
 9           that the foregoing is true and correct.

10     12/06/2023

11     Los Angeles, CA

12     Annunziata Crupi, in pro per

13     Signature

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16             ANNUNZIATA CRUPI

17             3711 Mentone ave, apt 19

18             Los Angeles, CA 90034

19             +1 (424) 230 6547

20             nancycrupi1986@gmail.com

21             Plaintiff in Pro Per

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       DECLARATION
